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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY

DONALD RUSSELL,                    :       Hon. Joseph H. Rodriguez

           Plaintiff,              :       Civil Action No. 17-664

     v.                            :            OPINION

FEDEX GROUND, et al.,              :

           Defendants.             :

     This matter is before the Court on a motion for summary judgment

filed by Defendant FedEx Ground Package Systems, Inc. (incorrectly

captioned originally as FedEx Ground). Having considered the parties’

submissions, the Court decides this matter without oral argument pursuant

to Federal Rule of Civil Procedure 78(b). For the reasons stated below, this

Court grants Defendant’s motion for summary judgment.

                                Background

     Plaintiff Donald Russell, who is African-American, was employed by

Defendant from June 11, 2007 until his termination on or about April 29,

2016. At the time of his termination, Plaintiff was an Operations Manager

at the FedEx Ground location in Barrington, New Jersey. His immediate

supervisor was Sort Manager Keith Davis, who is also African-American.

Davis reported to Assistant Senior Manager Pete Adams, who in turn

reported to Timothy Norton, the senior manager of the facility.

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      In October of 2015, Adams allegedly engaged in a verbal altercation

with Plaintiff. Prior to this incident, Adams had commented that Plaintiff’s

car and a vacation he took must have been expensive. Plaintiff interpreted

these comments as racially motivated. Soon after the October 2015

incident, another employee advised Plaintiff that Adams remarked about

Plaintiff, “I can’t stand that nigger, I’m going to get his black ass.”

      Plaintiff allegedly reported the comment to Norton. After doing so,

Plaintiff received allegedly unwarranted disciplines. Plaintiff complained to

a human resources manager, Edward Donahue, who is African-American,

that he believed he was being retaliated against; Donahue left Defendant’s

employ “a few weeks later,” on or about August 4, 2015. On January 7,

2016, Plaintiff was placed on a 90-day Performance Improvement Plan

(“PIP”), administered by Davis. In February of 2016, Plaintiff allegedly

again complained to human resources, this time to Mandy Knight, also

African-American. Plaintiff was terminated on April 29, 2016 for alleged

performance issues.

      In this case, Plaintiff asserts claims for racial harassment in violation

of NJLAD, retaliatory harassment in violation of NJLAD, retaliatory

discharge in violation of NJLAD, and a request for equitable relief.




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                        Summary Judgment Standard

      “Summary judgment is proper if there is no genuine issue of material

fact and if, viewing the facts in the light most favorable to the non-moving

party, the moving party is entitled to judgment as a matter of law.” Pearson

v. Component Tech. Corp., 247 F.3d 471, 482 n.1 (3d Cir. 2001) (citing

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)); accord Fed. R. Civ. P.

56 (a). Thus, the Court will enter summary judgment in favor of a movant

who shows that it is entitled to judgment as a matter of law, and supports

the showing that there is no genuine dispute as to any material fact by

“citing to particular parts of materials in the record, including depositions,

documents, electronically stored information, affidavits or declarations,

stipulations . . . admissions, interrogatory answers, or other materials.”

Fed. R. Civ. P. 56 (c)(1)(A).

      An issue is “genuine” if supported by evidence such that a reasonable

jury could return a verdict in the nonmoving party’s favor. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A fact is “material” if, under

the governing substantive law, a dispute about the fact might affect the

outcome of the suit. Id. In determining whether a genuine issue of material

fact exists, the court must view the facts and all reasonable inferences

drawn from those facts in the light most favorable to the nonmoving party.


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Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587

(1986).

      Initially, the moving party has the burden of demonstrating the

absence of a genuine issue of material fact. Celotex, 477 U.S. at 323. Once

the moving party has met this burden, the nonmoving party must identify,

by affidavits or otherwise, specific facts showing that there is a genuine

issue for trial. Id.; Maidenbaum v. Bally’s Park Place, Inc., 870 F. Supp.

1254, 1258 (D.N.J. 1994). Thus, to withstand a properly supported motion

for summary judgment, the nonmoving party must identify specific facts

and affirmative evidence that contradict those offered by the moving party.

Anderson, 477 U.S. at 256-57. “A nonmoving party may not ‘rest upon mere

allegations, general denials or . . . vague statements . . . .’” Trap Rock

Indus., Inc. v. Local 825, Int’l Union of Operating Eng’rs, 982 F.2d 884,

890 (3d Cir. 1992) (quoting Quiroga v. Hasbro, Inc., 934 F.2d 497, 500 (3d

Cir. 1991)). Indeed,

      the plain language of Rule 56(c) mandates the entry of
      summary judgment, after adequate time for discovery and
      upon motion, against a party who fails to make a showing
      sufficient to establish the existence of an element essential
      to that party’s case, and on which that party will bear the
      burden of proof at trial.

Celotex, 477 U.S. at 322. That is, the movant can support the assertion that

a fact cannot be genuinely disputed by showing that “an adverse party

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cannot produce admissible evidence to support the [alleged dispute of]

fact.” Fed. R. Civ. P. 56(c)(1)(B); accord Fed. R. Civ. P. 56(c)(2).

      In deciding the merits of a party’s motion for summary judgment, the

court’s role is not to evaluate the evidence and decide the truth of the

matter, but to determine whether there is a genuine issue for trial.

Anderson, 477 U.S. at 249. Credibility determinations are the province of

the factfinder. Big Apple BMW, Inc. v. BMW of N. Am., Inc., 974 F.2d 1358,

1363 (3d Cir. 1992).

                                    NJLAD

      The NJLAD “was enacted with the express purpose of protecting civil

rights, particularly in the area of employment discrimination, where the

NJLAD declares that the opportunity to gain employment without fear of

discrimination is a civil right.” Thurston v. Cherry Hill Triplex, 941 F.

Supp. 2d 520, 534 (D.N.J. 2008); see Fuchilla v. Layman, 537 A.2d 652,

660 (N.J. 1988) (“[T]he overarching goal of the [NJLAD] is nothing less

than the eradication ‘of the cancer of discrimination.’”) (quoting Jackson v.

Concord Co., 253 A.2d 793, 799 (N.J. 1969)).

      The New Jersey Supreme Court has explained that the NJLAD is

broad remedial legislation, designed to prohibit employers from

discriminating against employees with respect to the terms and conditions


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of their employment on the basis of a protected characteristic, such as race,

religion, age, sex, and disability. See Quinlan v. Curtiss-Wright Corp., 8

A.3d 209, 220 (N.J. 2010) (“We have been vigilant in interpreting the

[NJLAD] in accordance with that overarching purpose, and in recognition

that it is . . . remedial legislation that was intended to be given a broad and

liberal interpretation.”); see also N.J. Stat. Ann. § 10:5-12(a) (listing the

various protected classes under the NJLAD).

      Workplace discrimination claims brought under the NJLAD are

analyzed under the flexible burden-shifting framework established by the

United States Supreme Court in McDonnell Douglas Corp. v. Green, 411

U.S. 792 (1973). Viscik v. Fowler Equipment Co., 800 A.2d 826 (N.J. 2002)

(adopting McDonnell Douglas framework for NJLAD employment

discrimination cases). Under the McDonnell Douglas framework, a plaintiff

has the initial burden of establishing a prima facie case of discrimination

by pointing to evidence in the record sufficient to create a genuine factual

dispute that “s/he suffered an adverse employment action . . . under

circumstances that could give rise to an inference of intentional

discrimination” on the basis of race. Makky v. Chertoff, 541 F.3d 205, 214

(3d Cir. 2008); accord Iadimarco v. Runyon, 190 F.3d 151, 163 (3d Cir.

1999) (requiring plaintiff who alleges reverse race discrimination to present


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“sufficient evidence to allow a reasonable fact finder to conclude . . . that

the defendant treated [plaintiff] less favorably than others because of his

race”).

      The oft-cited elements of a prima facie case of racial discrimination

are that a plaintiff: (1) is a member of a protected class; (2) was qualified for

the position; (3) suffered an adverse employment decision; and (4) the

adverse employment action was made under circumstances that give rise to

an inference of unlawful discrimination. Jones v. Sch. Dist. of Philadelphia,

198 F.3d 403, 412 (3d Cir. 1999). Similarly, to establish a prima facie case

of retaliation under the NJLAD, a plaintiff must show: (1) he belonged to a

protected class; (2) he engaged in protected activity, which was known to

the employer; (3) he was subjected to an adverse employment consequence;

and (4) a causal link exists between the protected activity and the adverse

employment consequence. Victor v. State, 4 A.3d 126, 141 (N.J. 2010). To

assess causation, in addition to looking at temporal proximity, the Court

must consider “with a careful eye . . . the specific facts and circumstances

encountered.” Farrell v. Planters Lifesavers Co., 206 F.3d 271, 279 n.5 (3d

Cir. 2000).

      If a plaintiff makes out a prima facie case, the burden shifts to the

defendant employer to provide a legitimate, non-discriminatory reason for


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its employment decision. McDonnell Douglas, 411 U.S. at 802-03. If the

employer meets its burden of articulating a legitimate, nondiscriminatory

reason for the adverse employment action, the burden shifts back to the

plaintiff to demonstrate that the employer’s proffered reason for the

adverse employment action was pretextual. Id. To establish pretext under

the summary judgment standard, a plaintiff must either (1) offer evidence

that “casts sufficient doubt upon each of the legitimate reasons proffered by

the defendant so that a factfinder could reasonably conclude that each

reason was a fabrication,” or (2) present evidence sufficient to support an

inference that “discrimination was more likely than not a motivating or

determinative cause of the adverse employment action.” Fuentes v.

Perskie, 32 F.3d 759, 762 (3d Cir. 1994). To meet that burden, a plaintiff

“cannot simply show that the employer’s decision was wrong or

mistaken.” Id. at 765.

      “When a black plaintiff alleges hostile work environment racial

harassment under the LAD, []he must demonstrate that the defendant’s

‘conduct (1) would not have occurred but for the employee’s [race]; and [the

conduct] was (2) severe or pervasive enough to make a (3) reasonable

[African American] believe that (4) the conditions of employment are

altered and the working environment is hostile or abusive.’” Caver v. City


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of Trenton, 420 F.3d 243, 262 (3d Cir. 2005) (citing Taylor v. Metzger, 706

A.2d 685, 688-89 (N.J. 1998) (quoting Lehmann v. Toys ‘R’ Us, Inc., 626

A.2d 445, 453 (N.J.1993)) (modifications in original)). “’[O]ffhanded

comments, and isolated incidents (unless extremely serious)’ are not

sufficient to sustain a hostile work environment claim.” Caver, 420 F.3d at

262 (quoting Faragher v. City of Boca Raton, 524 U.S. 775, 788 (1998)).

“Rather, the ‘conduct must be extreme to amount to a change in the terms

and conditions of employment . . . .’” Id. In determining whether the

conduct at issue is sufficiently extreme, the Court must consider the

“totality of the circumstances.” Andrews v. City of Philadelphia, 895 F.2d

1469, 1482 (3d Cir. 1990). “The types of circumstances we consider ‘may

include the frequency of the discriminatory conduct; its severity; whether it

is physically threatening or humiliating, or a mere offensive utterance; and

whether it unreasonably interferes with an employee’s work performance.”

Caver, 420 F.3d at 262-63 (quoting Harris v. Forklift Sys., Inc., 510 U.S.

17, 23 (1993).

                                 Discussion

      As outlined above, Plaintiff bases his discrimination claim on three

incidents: (1) Adams’ comment on the cost of Plaintiff’s new Jeep Wrangler;

(2) Adams’ comment on the cost of Plaintiff’s February 2015 10-day


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Mediterranean vacation; and (3) Adams allegedly told another employee, “I

can’t stand that nigger, I’m going to get his black ass.”

      Plaintiff concedes that race was never mentioned in any conversation

he had with Adams. He imputed race into the two comments Adams made

to him because “by the way he said it to me, it led me to believe that a black

person shouldn’t be able to afford [it].” (Pl. Dep., 18:6-8.)

      According to Plaintiff, sometime is 2015 1 Plaintiff drive his vehicle, a

brand new $40,000 Jeep Wrangler, inside the station after coming back

from the supermarket with food and beverages for a staff meeting. Plaintiff

says Adams commented on how expensive and nice it was, which Plaintiff

interpreted as racist:

            So when I got out of the car he was like, “Wow,
            that’s a nice car. That car must be pretty
            expensive.” He was like, “My car don’t even cost
            that much.” I didn’t really know what to say so I
            just said like “Okay,” but in my mind I didn’t see the
            relevance. So what difference does it make what
            kind of car I’m driving or how much it costs, you
            know. But the way he said it to me, you know, it
            led me to believe that a black person shouldn’t be
            able to afford a car like that.

(Pl. Dep., 17:25-18:8.)


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 Plaintiff testified at his deposition that Adams’ comments about his
vacation took place in February 2015, and that he was “not really sure”
whether the comment about his vehicle took place before or after that. (Pl.
Dep., 19:20-25.)
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      In February 2015, shortly after Plaintiff returned from a 10-day

overseas vacation with his wife, Adams made the second comment which

Plaintiff relies on for his harassment claim:

            The comment about the vacation was in February
            of 2015, and I know this for certain because it was
            a trip me and my wife took for our 25th wedding
            anniversary that we had been saving up for five
            years for so that we could go. . . So when I came
            back from my trip he was like, “Oh, I heard you
            went on a Mediterranean cruise. I heard you was
            in Italy.” And stuff like that. He said, “That must
            have been pretty expensive.” He said, “Even I’ve
            never even been to Italy.” So then again, I’m like
            why is this guy saying things to me about money
            and finances, you know, like alluding to the fact
            that I’m living a better life that I should be living. I
            mean, why should I not be able to go on vacation
            wherever I want to go? I been saving for it for
            view years so what difference does it matter where
            I went and how much it costs.

(Pl. Dep., 18:18-19:10.)

      When asked if Adams said anything else during either of these two

incidents that led him to infer racial animus, Plaintiff confirmed he did not:

            Q: Have you told me everything about the
            comment he made about your car and the comment
            he made about your vacation in the very greatest
            detail that you can recall?
            A: Yes.

(Pl. Dep., 20:9-12.)

            Q: So when he commented on your Jeep Wrangler
            and he said, “Wow, that’s an expensive car, that’s

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            really nice,” and when he said, “Wow, that some
            great vacation you went on, I’ve never been to
            Italy, that’s something,” you took those comments
            as racially motivated, is that correct?
            A: Yes.
            Q: Did he ever mention your race?
            A: Not to me, personally.
            Q: When made the comment about your Jeep
            Wrangler and your vacation, can we agree that he
            never mentioned your race?
            A: Yes.

(Pl. Dep., 22:15-23:3.)

      When asked if Plaintiff ever heard Adams comment on his race – or

on anyone’s race – during the entire time they worked together, Plaintiff

confirmed he had not.

            Q: In that time frame had you ever heard him
            make any comment about your race?
            A: Again, not to my face.

(Pl. Dep., 23:14-16.)

            Q: So there were a lot of African-American in the
            station; is that correct?
            A: Yes.
            Q: In the time frame that you worked with Pete
            Adams you indicated that he never mentioned your
            race before to you. Had you ever heard him
            mention anyone’s race?
            A: Not to me, no.
            Q: But on this occasion when he commented on
            your vehicle being really nice and your vacation
            being a pretty fancy vacation, on those occasions
            you assumed he was commenting on – he was
            making a racial comment?
            A: Yes.

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(Pl. Dep., 24:12-23.)

      The third comment was not made to Plaintiff himself. Rather Plaintiff

asserts that Adams made the derogatory comment to Brian Flem, who then

told Marjorie Jones, who told Francine Winthers, who informed Plaintiff.

            Q: You said that you were advised by at least one
            other employee in the facility that Mr. Adams was
            telling people, “I can’t stand that N-word. I’m
            going to get his ---”
            Plaintiff’s Counsel: “Black ass,” you can say it.
            Q: Who was that one other employee in the facility
            that advised you of this?
            A: Francine Winthers.
            Q: And please tell me everything that you can
            recall in the greatest detail you can about what she
            said to you.
            A: “… And basically what she did was she came to
            me and she said, “Donald,” she said, “Be careful,
            watch your back because Pete doesn’t like you.
            Pete is out to get you,” and it got back to her that he
            called me a nigger and that he said he couldn’t
            stand my black ass and that he was going to get
            me, that’s exactly what she told me.
            Q: Did she hear Pet Adams ever way those words?
            A: I don’t believe she heard it because, again, she’s
            African-American so. The comments were made to
            another white manager.
            Q: And ---
            A: And it just so happens that the other white
            manager, me and him were friends, and obviously
            he didn’t like the situation, what Pete said, because
            it got back to me through Francine.
            Q: Who was this white manager that you claim
            Pete Adams made that comment to?
            A: Brian Flem.


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            Q: So, it’s your testimony that he made that
            comment “I can’t stand that N-word, I’m going to
            get his black ass,” he made that comment to Brian
            Flem?
            A: Yes.
            Q: Did Brian Flem tell you that?
            A: No.
            Q: Well, did Brin Flem tell Francine that?
            A: No. Brian Flem told Marjorie Jones.
            Q: So is it your testimony that Francine Winthers
            told you that she had heard from Marjorie Jones
            who had heard from Brian Flem –
            A: Yes.
            Q: -- that Pete Adams made those comments?
            A: Yes.
            Q: Okay, and just so that the record is clear
            because it can get a little confusing, is it your
            testimony that that comment, “I can’s stand that N-
            word, I’m going to get his black ass,” was made
            from Pete Adams to Brian Flem who then told
            Marjorie Jones who then told Francine Winthers
            who then told you?”
            A: Yes.
            Q: Have you told me everything about the
            comments that Pete Adams supposedly made and
            the people that he made it to in the very greatest
            detail that you can recall?
            A: Yes.
            Q: Are you aware of anyone in the station that
            heard Pete Adams make that comment, other than
            what you’ve just testified to?
            A: No.

(Pl. Dep., 33:5-36:1.) However, each of these individuals denies this.

      As testified by Pete Adams:

            Q: And when you were there, did you ever refer to
            Donald Russell as a nigger?
            A: No.

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            Q: Okay. Did you ever use words to the effect that
            you were going to get his black ass, referring to
            Donald Russell?
            A: No.
            Q: Have you ever used racially derogatory
            language at work?
            A: No.
            Q: Have you ever used the word nigger at work?
            A: No.

(Adams Dep., 13:9-22.)

      Brian Flem was also deposed:

      Q: At any point have you ever told Marjorie Jones that
      Pete Adams referred to Mr. Russell as a nigger?
      A: No.
      Q: Okay. Did Pete Adams ever refer to Mr. Russell as a
      nigger when talking to you?
      A: Not in my presence.
      Q: Okay. Did anyone ever tell you that Mr. Adams had
      referred to Mr. Russell as a nigger?
      A: No.
      Q: Okay. Have you ever heard Pete Adams use the work
      nigger at work?
      A: No.
      Q: Have you ever heard Mr. Adams use any racially
      derogatory language at work?
      A: Not racially. Stupid, idiot, referring to people, Not
      one on one, but as a group.
      Q: Okay.
      A: Staff meeting, misload meetings that they’ve had, but
      never anything derogatory.
      Q: Not derogatory of a specific race?
      A: Correct.
      Q: Did Mr. Adams ever tell you in reference to Donald
      Russell that he couldn’t stand that nigger and was going
      to get his black ass?
      A: No. I have very minimal conversations with Mr.
      Adams.

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(Flem Dep., 17:3-18:10.)

      Marjorie Jones corroborated as follows:

            Q: Okay. Did Brian Flem ever tell you that Pete
            Adams had used racially derogatory language
            about Mr. Russell?
            A: No.
            Q: Did Mr. Flem ever tell you that Pete Adams had
            referred to Donald Russell as a nigger?
            A: No.
            Q: Did Mr. Flem ever tell you that Pete Adams said
            that he was going to ger his black ass, referring to
            Mr. Russell?
            A: No.
            Q: Did you ever tell Mr. Russell that Mr. Flem had
            said those things to you?
            A: No.
            Q: Okay. Did you ever tell Mr. Russell anyone had
            used racially derogatory language about him?
            A: No.
            Q: Did you ever hear Pete Adams use racially
            derogatory language?
            A: No.
                                    *   *    *
            Q: Did you ever tell Francine Winthers that Pete
            Adams or anyone else had used racially
            derogatory language about Donald Russell?
            A: No.

(Jones Dep., 16:7-17:4; 19:7-11.)

      Finally, Francine Winthers denies that she told Plaintiff about the

derogatory remark:

            Q: Okay. And did you resign or were you
            terminated?
            A: Resigned.

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            Q: Okay. And was Mr. Russell someone that you
            had any sort of social relationship with outside
            work?
            A: Yes.
            Q: Okay. Were you friends?
            A: Yes.
            Q: Okay. Are you still friends with him today?
            A: Yes.
            Q: Did he tell you why he was suing FedEx?
            A: Yes.
            Q: What did he say?
            A: Wrongful termination.
            Q: Okay. During the course of your employment
            with FedEx, did anyone ever tell you that Pete
            Adams had referred to Donald Russell as a nigger?
            A: No. He didn’t use that word.
            Q: Okay. What was said?
            A: He said look at him, I can’t stand him walking
            around here like he thinks he owns something. I’m
            going to get rid of him.
            Q: Okay. Did you ever say to Mr. Russell that
            Brian [Flem] claimed that Pete had called him a
            nigger?
            A: No.
            Q: Okay. Did you ever hear from anybody that
            Pete Adams had used any racially derogatory
            language about Mr. Russell or anyone else at
            FedEx?
            A: No. I didn’t.

(Winthers Dep., 11:8-12:3; 12:20-13:9; 14:4-21.)

      Even viewed as a whole, these three alleged circumstances cannot

form the basis of a hostile work environment claim. Two of the three

comments were non-racial and not so severe or pervasive as to alter the

conditions of Plaintiff’s employment. The third constitutes an unsworn


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hearsay statement, which would be inadmissible at trial and therefore is

insufficient to defeat a motion for summary judgment. See Boyle v. Penn

Dental Med., 689 F. App’x 140, 144 (3d Cir. 2017); Garcia v. Newtown

Twp., 483 F. App’x 697, 704 (3d Cir. 2012); Bristol v. Settle, 457 F. App’x

202, 204 (3d Cir. 2012); Smith v. City of Allentown, 589 F.3d 684, 693 (3d

Cir. 2009).

      Regarding alleged retaliation, there is no support in the record for a

causal link between any complaints Plaintiff may have made and his PIP or

termination. In contrast, Defendant has thorough documentation of its

reasons for terminating Plaintiff for inadequate performance during his 90-

day PIP.

      First, an employer’s decision to place an employee on a PIP does not

itself constitute an adverse employment action when the PIP is comprised

of directives relating to the employee’s preexisting responsibilities.

Reynolds v. Dep’t of the Army, 439 F. App’x 150 (3d Cir. 2011). Next,

Plaintiff was placed on a PIP approximately six months after complaining

to Donahue, which would mean that his PIP was put in place over six

months after he allegedly complained to Norton. Accordingly, the Court

finds no temporal proximity between any complaints Plaintiff may have

made and his PIP to infer retaliatory harassment.


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      As to the claim of retaliatory discharge, Plaintiff’s performance

deficiencies appear to have given Defendant a legitimate,

nondiscriminatory basis for his termination. Areas targeted as needing

improvement included: providing timely responses to supervisors’

questions, completing daily tasks, meeting deadlines, properly filing

damaged package reports, meeting total labor hour goals, and missing

misload metrics. Davis noted that Plaintiff achieved his metric scanning

goal, but otherwise “did not meet or exceed the expectations set for him. “

Further, Plaintiff “did not take the time out to develop himself during the

PIP or spend additional time with his direct manager to improve

throughout the PIP.” In response, Plaintiff has failed to show that the

reasons advanced by Defendant for his termination were a pretext for

discrimination.

      Finally, as discussed here, there are no grounds for this Court to issue

a declaratory judgment to the effect that any practices of the Defendant

violated New Jersey law.




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                                 Conclusion

      For these reasons, Defendant’s motion for summary judgment will be

granted. An appropriate Order will accompany this Opinion.



Dated: March 20, 2019                      /s/ Joseph H. Rodriguez
                                           JOSEPH H. RODRIGUEZ
                                                   U.S.D.J.




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